         Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 1 of 22



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ORLANDO A. ACOSTA, et al.,

                          Plaintiffs,
                                                                  CIVIL ACTION
        v.                                                        NO. 17-1462

DEMOCRATIC CITY COMMITTEE, et al.,

                          Defendants.


                                             OPINION

Slomsky, J.                                                                         August 30, 2018

I.      INTRODUCTION

        This action originally arose from two related lawsuits, Acosta et al. v. Democratic City

Committee et al., Civil Action No. 17-1462, and Little et al. v. Vasquez et al., Civil Action No.

17-1562, which were consolidated by Order of this Court. (Doc. No. 53.)           The lawsuits, filed

pursuant to 42 U.S.C. § 1983, 1 generally alleged that numerous instances of coercion,

intimidation, and misconduct occurred during a special election held on March 21, 2017 for

Pennsylvania State Representative for the 197th Legislative District in Philadelphia, which

caused the election to be held in an unfair manner and in violation of the First and Fourteenth

Amendments to the United States Constitution.

        In the original two related lawsuits, Plaintiffs were defeated write-in candidates Orlando

A. Acosta and Edward Lloyd, proceeding pro se, defeated Republican candidate Lucinda Little,

1
     42 U.S.C. § 1983 provides in relevant part as follows:

             Every person who, under color of any statute, ordinance, regulation, custom,
             or usage, of any State or Territory or the District of Columbia, subjects, or
             causes to be subjected, any citizen of the United States . . . to the deprivation
             of any rights, privileges, or immunities secured by the Constitution and laws,
             shall be liable to the party injured . . . .


                                                  1
        Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 2 of 22



defeated write-in Green Party candidate Cheri Honkala, the Republican City Committee of

Philadelphia, and the Republican Party of Pennsylvania. The Defendants were state and local

government officials and entities, and partisan officials and entities Plaintiffs claim were

involved in the execution of the election.

       By Opinion and Order dated January 22, 2018, this Court dismissed Plaintiffs’

Complaints in their entirety for failure to state a claim, but granted them leave to file amended

Complaints. (Doc. Nos. 83, 84.) On February 12, 2018, Plaintiff Acosta filed a Third Amended

Complaint (Doc. No. 91), which was joined by Plaintiff Lloyd (Doc. No. 103). Plaintiffs Little,

Honkala, the Republican City Committee of Philadelphia, and the Republican Party of

Pennsylvania did not file an amended Complaint.

       Before the Court are Defendants’ Motions to Dismiss the Third Amended Complaint

(Doc. No. 91) 2 pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim. 3

(Doc. Nos. 105-110.) In response, Plaintiff Acosta has filed various documents, including a

Motion for Default against Defendants for failing to respond to an Affidavit of Truth he filed


2
    Although Plaintiff Acosta labeled Document Number 91 as his Second Amended Complaint,
    his Complaint (Doc. No. 5) was amended twice before (Doc. Nos. 9, 11), rendering the
    instant Complaint the Third Amended Complaint (Doc. No. 91).
3
    The complete list of Defendants named in the Third Amended Complaint is as follows: the
    Philadelphia City Democratic Committee; Emilio Vazquez; Ward Leaders Carlos Matos,
    Elaine Tomlin, Jewell Williams, Dwayne Lilley, Shirley Gregory, and El-Amor Brown Ali;
    Mike Turzai, Speaker of the House; Pedro A. Cortés, former Secretary of the Commonwealth
    of Pennsylvania; Philadelphia City Commissioners Anthony Clark, Lisa Deeley, and Al
    Schmidt; the Return Board; the City Commissioners’ Office; the Committee of Seventy; and
    Leslie Acosta, former Pennsylvania State Representative.

    On October 11, 2017, Cortés resigned from his position as Secretary of the Commonwealth
    of Pennsylvania. That same day, Robert Torres was designated to serve as Acting Secretary
    of the Commonwealth. Torres is automatically substituted as a party for Secretary Cortés.
    See Fed. R. Civ. P. 25(d) (“An action does not abate when a public officer who is a party in
    an official capacity dies, resigns, or otherwise ceases to hold office while the action is
    pending. The officer’s successor is automatically substituted as a party.”).
                                                 2
        Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 3 of 22



(Doc. No. 114) and a Motion for Default Judgment against Defendant Leslie Acosta (Doc. No.

123). For reasons that follow, Defendants’ Motions to Dismiss (Doc. Nos. 105-110) will be

granted, and Plaintiff Acosta’s Motions for Default and Default Judgment (Doc. Nos. 114, 123)

will be denied.

II.    BACKGROUND

       A.         Facts Alleged in the Second Amended Complaint

       The facts of this case were set forth at length in the Court’s January 23, 2018 Opinion,

Acosta v. Democratic City Committee, 288 F. Supp. 3d 597 (E.D. Pa. 2018), granting

Defendants’ first Motions to Dismiss. (Doc. No. 83.) The Court will not restate all of the facts

here but will provide a brief summary of them. Plaintiffs Acosta and Lloyd brought the Second

Amended Complaint against the Philadelphia City Democratic Committee (“Democratic

Committee”); Emilio Vazquez; Ward Leaders Carlos Matos, Elaine Tomlin, Jewell Williams,

Dwayne Lilley, Shirley Gregory, and El-Amor Browne Ali (“Six Ward Leaders”); Pennsylvania

Speaker of the House of Representatives Mike Turzai; former Secretary of the Commonwealth of

Pennsylvania Pedro Cortés (“former Secretary Cortés”); the Department of State, Bureau of

Commissions, Elections and Legislation (“Pennsylvania Department of State”); Philadelphia

City Commissioners Anthony Clark, Lisa Deeley, and Al Schmidt (“individual City

Commissioners”); the Philadelphia City Commissioners’ Office and the Philadelphia County

Board of Elections (collectively, “City Commissioners’ Office”); former State Representative

Leslie Acosta; and the Committee of Seventy.

       The Second Amended Complaint alleged that on March 21, 2017, a special election was

held for the Pennsylvania State Representative seat for the 197th Legislative District in

Philadelphia. Former Secretary Cortés ordered the election because the previously-elected State

Representative, Leslie Acosta, was not seated due to a prior felony conviction. Although several

                                               3
        Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 4 of 22



write-in candidates ran in the election, Republican Lucinda Little was the only duly nominated

candidate. Write-in candidate Emilio Vazquez was the eventual winner of the election and was

purportedly sponsored and supported by the Democratic Committee. Plaintiffs Acosta and Lloyd

also were write-in candidates.

       Plaintiffs alleged that during the special election, individuals at the polls engaged in voter

coercion, intimidation, and other misconduct. The Court explained that these individuals could

be divided into three categories: (a) government actors, (b) Democratic Party actors, and (c)

unidentified actors. (Doc. No. 83 at 12.) As to government actors, Plaintiffs alleged that

Election Board workers told voters to vote for Vazquez, threatened and intimidated voters if it

appeared they were going to vote for a candidate other than Vazquez, and allowed Democratic

workers to hand out literature and enter voting booths to help constituents vote for Vazquez.

Plaintiffs alleged that voters were turned away if they attempted to vote for a candidate other

than Vazquez. They also alleged that Election Board workers impermissibly interacted with

individuals from the Democratic Party and that Vazquez impermissibly interacted with the

Election Board and voters.

       Plaintiffs asserted that persons affiliated with the Democratic Party, including Ward

Leaders and Democratic Committee people, improperly disseminated literature, materials, and

information. As voters checked in to vote, Democratic Committee people told them to vote for

Vazquez, and Democratic Party affiliates were seen going in and out of polling locations and

entering voting booths with voters. Democratic workers threatened, intimidated, and coerced

voters if it appeared they were going to vote for a candidate other than Vazquez.




                                                 4
        Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 5 of 22



       Plaintiffs also alleged misconduct on the part of certain individuals but did not plead facts

revealing their identities. The alleged misconduct included impermissible dissemination of

literature and information, improper assistance of voters, and voter intimidation and harassment.

       Finally, Plaintiffs alleged that voting materials and equipment were tampered with, that

voting machines malfunctioned, and that improper chain of custody procedures were followed

regarding voting materials and equipment. Plaintiffs asserted that the Board of Elections, the

Philadelphia City Commissioners, the Ward Leaders, the Committee of Seventy, and Speaker

Turzai caused these problems. They alleged this conduct violated their rights under the First and

Fourteenth Amendments, including their rights of association, to vote, and to speech, as well as

their Fourteenth Amendment fundamental due process right. Plaintiffs also asserted the alleged

conduct violated the Pennsylvania Election Code. They sought declaratory and injunctive relief.

       B.      Dismissal of the Second Amended Complaint

       In dismissing the Second Amended Complaint, the Court held that Plaintiffs had failed to

state a claim for relief under Rule 12(b)(6) of the Federal Rules of Civil Procedure. As to the

Pennsylvania Department of State, the Court held that the Eleventh Amendment barred suit and

dismissed all claims against it with prejudice because the Court did not have jurisdiction over

them. (Doc. No. 83 at 34.)

       Next, the Court held that Emilio Vazquez, the Democratic Committee, and the Six Ward

Leaders were not state actors and therefore could not be subject to liability under 42 U.S.C.

§ 1983. (Id. at 36.) As a political candidate during the special election, Vazquez was a private

actor and thus did not fall within the scope of § 1983. (Id. at 49.) Plaintiffs also had failed to

plausibly allege that Vazquez had engaged in joint action or conspired with a state actor to

expose him to liability under § 1983. (Id.) The Democratic Committee, as a political party, also

was not a state actor and could not be held liable under § 1983. (Id. at 41.) The Six Ward
                                                5
        Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 6 of 22



Leaders also were private actors, and Plaintiffs had not plausibly alleged that they had engaged

in a conspiracy with a state actor such that they could be held liable under § 1983. (Id. at 45-46.)

       As to Speaker Turzai, former Secretary Cortés, and the individual City Commissioners,

the Court held that Plaintiffs had failed to plausibly allege that they had any personal

involvement in the wrongful conduct. (Id. at 50.) The Court also dismissed any claims against

the City Commissioners in their official capacity because they were duplicative of claims against

the City Commissioners’ Office. (Id. at 55 n.27.)

       As to the City Commissioners’ Office, the Court held that the claims against it would be

dismissed because Plaintiffs had not plausibly pled a claim under Monell v. Department of Social

Services, 436 U.S. 658 (1978), for a policy or custom of failure to train or supervise. (Doc. No.

83 at 57.)     Instead, Plaintiffs merely had pled the conclusory allegation that the City

Commissioners’ Office failed to supervise the election. (Id. at 59.)

       After dismissing the First and Fourteenth Amendment claims, the Court held that to the

extent Plaintiffs pled claims for violations of the Pennsylvania Election Code, it would decline to

exercise supplemental jurisdiction over them since it had dismissed the underlying constitutional

claims over which it had original jurisdiction. (Id. at 73.) Accordingly, the Court dismissed any

Pennsylvania Election Code claims without prejudice. (Id.)

       As to Leslie Acosta and the Committee of Seventy, although those parties had not filed

Motions to Dismiss, the Court sua sponte dismissed the claims against them without prejudice

for failure to state a claim under 28 U.S.C. § 1915(e)(2)(B)(ii). 4 (Doc. No. 83 at 75.) The Court

also noted that process had not been served on the Committee of Seventy. (Id.)



4
    For actions filed by plaintiffs proceeding in forma pauperis, § 1915(e)(2)(B)(ii) provides that
    “the court shall dismiss the case at any time if the court determines that . . . the action . . .
    fails to state a claim upon which relief may be granted.” § 1915(e)(2)(B)(ii). The standard
                                                 6
        Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 7 of 22



       Finally, the Court granted Plaintiffs leave to amend the Complaints against all Defendants

except for the Pennsylvania Department of State, since the claims against it were barred by the

Eleventh Amendment. (Id. at 77, 79.) The Court explained:

       Plaintiffs’ § 1983 claims were dismissed because they failed to plead facts
       sufficient to establish that a conspiracy existed between the political party actors
       and the state actors, or that the conduct that allegedly occurred at the special
       election could be attributed to the state actors. Plaintiffs will be given the
       opportunity to plead facts sufficient to support its § 1983 claims that overcome
       the deficiencies discussed in this Opinion.

(Id. at 78 (footnotes omitted).) The Court cautioned that Plaintiffs “must allege sufficient facts in

any amended complaint and not merely repeat what is contained in the dismissed complaints.”

(Id. at 79 n.35.) The Court warned that repeating the same allegations would result in another

dismissal. (Id.)

       C.      Facts Alleged in the Third Amended Complaint

       On February 12, 2018, Plaintiff Acosta filed a Third Amended Complaint (Doc. No. 91),

which Plaintiff Lloyd joined (Doc. No. 103). Plaintiffs named as Defendants the Democratic

Committee; Emilio Vazquez; the Six Ward Leaders; Speaker Turzai; former Secretary Cortés; the

individual City Commissioners; the City Commissioners’ Office; the Return Board; 5 Leslie

Acosta; and the Committee of Seventy. (Doc. No. 91 at 8.)



    for failure to state a claim under § 1915(e)(2)(B)(ii) is the same as the standard under Federal
    Rule of Civil Procedure 12(b)(6). Allah v. Seiverling, 229 F.3d 220, 223 (3d Cir. 2000).
5
    Plaintiffs include the Return Board as a Defendant with no explanation of the identity of this
    Defendant or its role in the special election. Under the Pennsylvania Election Code,
    however, it appears that the Return Board is part of each county’s board of elections, which
    in this case is the Philadelphia County Board of Elections. The Pennsylvania Election Code,
    25 Pa. Stat. § 3153, provides in pertinent part:

            The county board of elections shall arrange for the computation and
            canvassing of the returns of votes cast at each primary and election at its
            office or at some other convenient public place at the county seat . . . .

                                                 7
        Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 8 of 22



       Plaintiffs allege the following facts in their Third Amended Complaint. Plaintiffs assert

as background that in 2016, the Democratic Party endorsed Leslie Acosta as the incumbent

candidate but that she had pled guilty to money laundering and embezzlement. (Id. at 1.)

Plaintiff Acosta contends that he ran as a write-in candidate against Leslie Acosta in 2016 and

that the Democratic Party stole the election from him. (Id.) He states that thereafter he took the

matter to the Commonwealth Court of Pennsylvania and that the Honorable James Garner Colins

rendered a decision denying him the Democratic seat of State Representative. (Id.) Plaintiff

Acosta alleges that he and his family were affected emotionally and financially. (Id.)

       On March 21, 2017, he ran again as a write-in candidate in the special election for the

197th District. (Id.) Plaintiffs allege that the 197th District Democratic Party had meetings with

Ward Leaders and Committee people to plan and organize their strategy to fraudulently steal the

197th District special election and that former State Representative Leslie Acosta had endorsed a

candidate, Freddy Ramirez, to be her successor. (Id.)

       Plaintiffs allege that Ramirez was the candidate nominated to run on behalf of the

Democratic Party, but he was challenged by Republican candidate Lucinda Little on his

residency within the 197th District. (Id. at 2.) They state that it was later revealed Ramirez did

not reside in the 197th District and that he was removed from the ballot before the special

election. (Id.) As a result, Plaintiffs allege that the Democratic Party put up another candidate,

Emilio Vazquez. (Id.) Plaintiffs assert that the Democratic Party and Vazquez put out posters

before the special election stating that Vazquez was the only Democratic candidate on the ballot.

(Id.) Plaintiffs allege that this statement was not true because only one candidate was on the

ballot, Republican Lucinda Little, and that all other candidates were write-in candidates. (Id.)


   § 3153(a). The Court will treat the Return Board as part of the Philadelphia County Board of
   Elections, which, as before, it will address collectively with the City Commissioners’ Office.
                                                8
         Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 9 of 22



They then allege that Vazquez committed perjury and wire fraud under the RICO statute 6 and

state law. (Id.)

        Plaintiffs then allege that the day after the election, the state legislative branch in

Harrisburg and the leadership team held a news conference at which they called on State

Attorney General Josh Shapiro to launch an investigation into the election. (Id.) Plaintiffs state

that the legislative branch in Harrisburg had a duty not to certify the results of the special

election until after the investigation had been completed. (Id.) Plaintiffs also note that four

people were charged with fraud related to the election: Dolores Shaw, Calvin Maddox, Thurman

George, and Wallace Hill. (Id.) But Plaintiffs do not explain what role these people played in

the election and do not name them as Defendants in the Third Amended Complaint. (Id.)

        Plaintiffs also allege that administrators of the Return Board instructed state agents and

employees of the Bureau of Elections and Legislation to commit illegal and fraudulent activity

on the state payroll after the special election occurred. (Id. at 3.) Plaintiffs allege that the Return

Board is the main state entity that oversees election results, including counting of votes. (Id.)

        Plaintiffs further assert that at the September 14, 2017 hearing on the first Motions to

Dismiss, held before this Court, counsel for Emilio Vazquez, committed perjury by making the

legal argument that federal courts should not be involved in state elections. (Id. at 3.) They also

contend that counsel committed perjury by making this legal argument in his Supplemental

Memorandum in support of his Motion to Dismiss. (Id.)

        Regarding the Committee of Seventy, Plaintiffs allege that as a nonprofit entity, it is

supposed to oversee elections and ensure that everything is run properly and fairly. (Id. at 4.)

Plaintiffs allege that during the special election, the Committee of Seventy was “nowhere to be

6
    By referring to “the RICO statute,” the Court assumes Plaintiffs are referencing Racketeer
    Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961-1968.
                                                  9
        Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 10 of 22



found when it came to overseeing and making sure the integrity of the . . . special election was

ran honestly and fairly for all the people of Philadelphia.” (Id.)

       As to the Democratic Committee, Plaintiffs allege that then chairman Bob Brady was at a

meeting conducted by former State Representative Leslie Acosta along with several Ward

Leaders and Committee members. (Id.) Plaintiffs contend that at the meeting, they discussed

endorsing candidates for the special election. (Id.) Plaintiffs allege that at this and other

meetings, the illegal activity that took place at the special election was planned. (Id.) Plaintiff

Acosta seeks $10 million for the damages done to himself and his family by the Democratic

Committee and the Democratic Party. 7 (Id. at 4.)




7
    Plaintiffs attach to the Third Amended Complaint the text of various federal and state
    statutes, including 28 U.S.C. § 144, bias or prejudice of a judge; 18 U.S.C. § 4, misprision of
    a felony; 42 Pa. Cons. Stat. § 2522, oath of office of an attorney; the Ralph M. Brown Act,
    Cal. Gov’t Code § 54950, a California state law concerning local legislative bodies; 18
    U.S.C. § 1621, the federal perjury statute; 18 U.S.C. § 1964, the civil RICO statute; and 25
    Pa. Stat. § 3551, addressing penalties for a candidate violating the Pennsylvania Election
    Code. (Doc. No. 91 at 9-14, 16, 28-29.) In addition, Plaintiffs have attached a U.S.
    Attorney’s Office Citizens Report Form filled out by Plaintiff Acosta. (Id. at 15.)

    Plaintiffs also attach the opinion of the Honorable Sheila Woods-Skipper of the Court of
    Common Pleas of Philadelphia County, dismissing Plaintiff Acosta’s petition challenging the
    2016 election for State Representative. (Id. at 34-35.) Plaintiffs also attach the appeal of
    that decision to the Commonwealth Court of Pennsylvania on November 28, 2016. (Id. at
    17.) In it, Plaintiff Acosta seeks review on the issue of whether Leslie Acosta’s victory in the
    2016 election was illegal due to her felony conviction, resulting in Plaintiff Acosta being
    declared the winner. (Id. at 20.) Plaintiffs also attach the January 24, 2017 order of the
    Honorable James Gardner Colins of the Commonwealth Court of Pennsylvania, affirming the
    dismissal of Plaintiff Acosta’s petition and the order denying Plaintiff Acosta’s application
    for reconsideration of the January 24, 2017 order. (Id. at 25-27.)

    Finally, Plaintiffs attach two news articles. The first, dated December 7, 2016, is titled,
    “Convicted Rep. Leslie Acosta weighs in on . . . her own replacement.” (Id. at 30-32
    (omission in original).) The second, dated December 28, 2016, is titled, “Ward leaders in
    backroom battle over replacement for convicted State Rep. Leslie Acosta.” (Id. at 25-38.)

                                                 10
        Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 11 of 22



        D.       Procedural History

        On March 31, 2017, Plaintiffs Acosta and Lloyd initiated this action by filing an

Emergency Petition for an injunction staying the certification of Vazquez as the election winner.

(Doc. No. 1-3.) By Order of the Honorable Paul S. Diamond of this Court, the Emergency

Petition was denied. (Doc. No. 4.) Plaintiffs Acosta and Lloyd then filed a Complaint. (Doc.

No. 5.) Thereafter, they filed an Amended Complaint (Doc. No. 9) and then a Second Amended

Complaint. (Doc. No. 11.) On April 6, 2017, Plaintiffs defeated Republican candidate Lucinda

Little, defeated write-in Green Party candidate Cheri Honkala, the Republican City Committee of

Philadelphia, and the Republican Party of Pennsylvania filed their Complaint (No. 17-1562, Doc.

No. 1), and on April 7, 2017, they filed an Amended Complaint (Id., Doc. No. 2).

        On August 10, 2017, the actions were consolidated by Order of this Court. (Doc. No.

53.) Defendants filed Motions to Dismiss, and on September 14, 2017, a hearing was held on the

Motions.      As noted previously, by Opinion and Order dated January 23, 2018, the Court

dismissed all claims but afforded Plaintiffs leave to amend the Complaints as to all Defendants

except for the Pennsylvania Department of State. (Doc. Nos. 83, 84.) Plaintiffs Acosta and

Lloyd filed a Third Amended Complaint. (Doc. No. 91.) The remaining Plaintiffs did not do so.

Defendants again have filed Motions to Dismiss (Doc. Nos. 105-110), which are ripe for a

decision. 8



8
    In rendering a decision, the Court has considered its January 23, 2018 Opinion and Order
    (Doc. Nos. 83, 84); the Third Amended Complaint (Doc. No. 91); the Democratic
    Committee’s Motion to Dismiss (Doc. No. 105); Emilio Vazquez’s Motion to Dismiss and
    Motion to Strike (Doc. No. 106); the Motion to Dismiss of Secretary Torres, substituted as a
    party for Secretary Cortés (Doc. No. 107); Secretary Turzai’s Motion to Dismiss (Doc. No.
    108); the Six Ward Leaders’ Motion to Dismiss (Doc. No. 109); and the Motion to Dismiss of
    the individual City Commissioners, the City Commissioners’ Office, and the Philadelphia
    Board of Elections (Doc. No. 110).

                                               11
           Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 12 of 22



III.      STANDARD OF REVIEW

          The motion to dismiss standard under Federal Rule of Civil Procedure 12(b)(6) for failure

to state a claim is set forth in Ashcroft v. Iqbal, 556 U.S. 662 (2009). After Iqbal it is clear that

“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice” to defeat a Rule 12(b)(6) motion to dismiss. Id. at 678; see also Bell

Atl. Corp. v. Twombly, 550 U.S. 544 (2007). “To survive dismissal, ‘a complaint must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face.’”

Tatis v. Allied Interstate, LLC, 882 F.3d 422, 426 (3d Cir. 2018) (quoting Iqbal, 556 U.S. at 678).

Facial plausibility is “more than a sheer possibility that a defendant has acted unlawfully.” Id.

(quoting Iqbal, 556 U.S. at 678). Instead, “[a] claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Id. (quoting Iqbal, 556 U.S. at 678).

          Applying the principles of Iqbal and Twombly, the Third Circuit in Santiago v.

Warminster Township, 629 F.3d 121 (3d Cir. 2010), set forth a three-part analysis that a district

court in this Circuit must conduct in evaluating whether allegations in a complaint survive a Rule

12(b)(6) motion to dismiss:

          First, the court must “tak[e] note of the elements a plaintiff must plead to state a
          claim.” Second, the court should identify allegations that, “because they are no
          more than conclusions, are not entitled to the assumption of truth.” Finally,

       The Court also has considered Plaintiff Acosta’s Affidavit of Status as Secured Party and
       Creditor (Doc. No. 111); a UCC-1 Form filed by Plaintiff Acosta (Doc. No. 112); Plaintiff
       Acosta’s Affidavit of Truth (Doc. No. 113); Plaintiff Acosta’s Motion for Default against
       Defendants (Doc. No. 114); the letter dated May 7, 2018 from Plaintiff Acosta (Doc. No.
       115); Plaintiff Acosta’s Affidavit in Support of Default (Doc. No. 116); Plaintiff Acosta’s
       Statement regarding placing a bond in a court case (Doc. No. 117); Plaintiff Lloyd’s
       Statement of Truth (Doc. No. 118); the letter dated June 4, 2018 from Plaintiff Acosta (Doc.
       No. 119); Plaintiff Acosta’s Affidavit of Probable Cause (Doc. No. 120); the letter dated June
       21, 2018 from Plaintiff Acosta (Doc. No. 121); the letter dated June 26, 2018 from Plaintiff
       Acosta (Doc. No. 122); Plaintiff Acosta’s Motion for Default Judgment against Leslie Acosta
       (Doc. No. 123); and the Statement of Plaintiff Acosta (Doc. No. 124).
                                                  12
       Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 13 of 22



       “where there are well-pleaded factual allegations, a court should assume their
       veracity and then determine whether they plausibly give rise to an entitlement for
       relief.”

Id. at 130 (quoting Iqbal, 556 U.S. at 675, 679). The inquiry is normally broken into three parts:

“(1) identifying the elements of the claim, (2) reviewing the complaint to strike conclusory

allegations, and then (3) looking at the well-pleaded components of the complaint and evaluating

whether all of the elements identified in part one of the inquiry are sufficiently alleged.” Malleus

v. George, 641 F.3d 560, 563 (3d Cir. 2011).

       A complaint must do more than allege a plaintiff’s entitlement to relief, it must “show”

such an entitlement with its facts. Fowler v. UPMC Shadyside, 578 F.3d 203, 210-11 (3d Cir.

2009) (citing Phillips v. County of Allegheny, 515 F.3d 224, 234-35 (3d Cir. 2008)). “[W]here

the well-pleaded facts do not permit the court to infer more than the mere possibility of

misconduct, the complaint has alleged—but it has not ‘show[n]’—‘that the pleader is entitled to

relief.’” Iqbal, 556 U.S. at 679 (alteration in original) (citation omitted). The “plausibility”

determination is a “context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Id.

       When determining a motion to dismiss, the court must “accept all factual allegations in

the complaint as true and view them in the light most favorable to the plaintiff.” Buck v.

Hampton Twp. Sch. Dist., 452 F.3d 256, 260 (3d Cir. 2006). Where, as here, the complaint is

filed pro se, the “complaint, ‘however inartfully pleaded’ must be held to ‘less stringent

standards than formal pleadings drafted by lawyers.’” Fatone v. Latini, 780 F.3d 184, 193 (3d

Cir. 2015) (quoting Haines v. Kerner, 404 U.S. 519, 520–21 (1972)). It should be dismissed only

if it appears “beyond doubt that the plaintiff can prove no set of facts in support of [his] claim

that would entitle [him] to relief.” Olaniyi v. Alexa Cab Co., 239 F. App’x 698, 699 (3d Cir.

2007) (citing McDowell v. Del. State Police, 88 F.3d 188, 189 (3d Cir. 1996)).
                                                13
          Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 14 of 22



IV.       ANALYSIS

          Defendants move to dismiss the Third Amended Complaint, arguing that Plaintiffs have

failed to cure the defects in their Second Amended Complaint. (Doc. Nos. 105-110.) The Court

will address the Motions to Dismiss filed by each Defendant in turn. Then, the Court will briefly

address Plaintiff Acosta’s Motions for Default and Default Judgment. For reasons that follow, as

noted, Defendants’ Motions to Dismiss will be granted, and Plaintiff Acosta’s Motions will be

denied.

          A.     Claims Against the Democratic Committee, Emilio Vazquez, and the Six
                 Ward Leaders Will Be Dismissed Because Plaintiffs Have Failed to Allege
                 that They Conspired or Engaged in Joint Conduct With State Actors

          The Democratic Committee, Emilio Vazquez, and the Six Ward Leaders submit that since

this Court already held that these parties are not state actors, Plaintiffs were required to plead that

these parties participated in joint activity or in a conspiracy with a state actor to be held liable

under § 1983. (Doc. Nos. 105, 106-1, 109-1.) They argue that Plaintiffs have failed to allege

any new facts to support a claim of joint activity or conspiracy. (Id.) The Court agrees.

          In its January 23, 2018 Opinion, this Court held that the Democratic Committee,

Vazquez, and the Six Ward Leaders were not state actors and therefore could not be held liable

under § 1983. Instead, Plaintiffs would have to plausibly allege that these parties engaged in

joint activity or a conspiracy with a state actor. (Doc. No. 83 at 37-49, 78.) In the Third

Amended Complaint, Plaintiffs allege that the Democratic Party had meetings with Ward

Leaders and Committee people and that the Democratic Party and Vazquez put out posters

stating that Vazquez was the only Democratic candidate on the ballot. (Doc. No. 91 at 1-2.) But

Plaintiffs fail to allege any facts to support a claim that these parties acted jointly or conspired




                                                  14
        Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 15 of 22



with a state actor. For this reason, Plaintiffs have failed to plausibly allege that these Defendants

violated § 1983, and the claims against them will be dismissed. 9

       B.      Claims Against Speaker Turzai Will Be Dismissed Because Plaintiffs Have
               Not Plausibly Alleged that He Was Personally Involved in the Wrongdoing

       As before, Speaker Turzai submits that Plaintiffs again have failed to allege any

actionable conduct on his part and have failed to overcome the deficiencies in their Second

Amended Complaint. (Doc. No. 108 at 4.) The Court agrees.

       In the Third Amended Complaint, Plaintiffs allege virtually no facts related to Secretary

Turzai and therefore have failed to state a claim against him. Plaintiffs merely allege that the day

after the special election, the state legislative branch in Harrisburg and the leadership team,

including Speaker Turzai, held a news conference. (Doc. No. 91 at 2.) Beyond this sole

allegation, Plaintiffs allege no other facts related to Speaker Turzai. As the Court explained in its

previous Opinion, Speaker Turzai cannot be held liable under a theory of respondeat superior but

must have had some personal involvement in the alleged misconduct. (Doc. No. 83 at 49 (citing

Argueta v. U.S. Immigration & Customs Enf’t, 643 F.3d 60, 71 (3d Cir. 2011)). Because

Plaintiffs once again have failed to allege any actionable conduct on the part of Speaker Turzai,

the claims against him will be dismissed.




9
    Defendant Vazquez also filed a Motion to Strike the allegation in the Third Amended
    Complaint that his counsel perjured himself by making a legal argument before the Court and
    in his original Motion to Dismiss. (Doc. No. 106-1 at 2 n.1.) Defendant Vazquez moves the
    Court to strike these allegations from the Third Amended Complaint under Federal Rule of
    Civil Procedure 12(f) as “immaterial, impertinent, or scandalous matter.” (Id.; see Fed. R.
    Civ. P. 12(f) (“The court may strike from a pleading . . . any . . . immaterial, impertinent, or
    scandalous matter.”).) Because the Third Amended Complaint will be dismissed in its
    entirety, the Motion to Strike will be denied as moot.
                                                 15
         Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 16 of 22



        C.      Claims Against Former Secretary Cortés and the Individual City
                Commissioners Will Be Dismissed Because Plaintiffs Have Not Plausibly
                Alleged that They Were Personally Involved in the Wrongdoing or that They
                Failed to Train or Supervise

        Former Secretary Cortés and the individual City Commissioner argue that the Third

Amended Complaint contains no factual allegations directed at them, that a lawsuit against them

cannot be based on respondeat superior, and therefore that Plaintiffs once again have failed to

state a claim. (Doc. Nos. 107-1; 110-2.) The Court agrees.

        The Third Amended Complaint contains no factual allegations directed at Secretary

Cortés or the individual City Commissioner and therefore has failed to cure the deficiencies in

the Second Amended Complaint. As the Court noted in its prior Opinion, Secretary Cortés and

the individual City Commissioners cannot be held liable under a theory of respondeat superior,

and Plaintiffs have failed to plausibly allege that they had any personal involvement in the

wrongful conduct that occurred at the special election. (Doc. No. 83 at 53-56.) Plaintiffs also

have failed allege a plausible claim that Secretary Cortés and the individual City Commissioners

failed to properly train or supervise the election. (Id.) And Plaintiffs have not pointed to a

policy or practice that these parties failed to implement that created a risk of constitutional

violations. (Id.) For these reasons and those stated in the January 23, 2018 Opinion, the claims

against Secretary Cortés and the individual City Commissioners will be dismissed. 10




10
     To the extent Plaintiffs intended to bring claims against the City Commissioners in their
     official capacity, these claims will be dismissed. As the Court concluded in its previous
     Opinion, suits against state actors in their official capacity “generally represent only another
     way of pleading an action against the entity of which the officer is an agent.” Kentucky v.
     Graham, 473 U.S. 159, 165-66 (1985). Thus, as before, any claims against the City
     Commissioners in their official capacity are duplicative of the claims against the City
     Commissioners’ Office and once again will be dismissed.
                                                 16
       Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 17 of 22



       D.      Claims Against the City Commissioners’ Office Will Be Dismissed Because
               Plaintiffs Have Not Plausibly Alleged a Failure to Train or Supervise

       The City Commissioners’ Office notes that it is not a legal entity separate from the City

of Philadelphia and therefore any claims against it are, in reality, claims against the City. (Doc.

No. 110-2 at 7.) Even construing the claims against it as claims against the City, the City

Commissioners’ Office submits that the claims against it in the Third Amended Complaint

should be dismissed because Plaintiffs have pled no allegations that could satisfy the standard for

municipal liability set forth in Monell v. Department of Social Services, 436 U.S. 658 (1978).

(Id. at 7-8.) The Court agrees.

       Construing the claims against the City Commissioners’ Office as claims against the City,

Plaintiffs have again failed to allege a plausible claim against it. As explained in the prior

Opinion, a municipality may be liable where their alleged unconstitutional action “implements or

executes a policy statement, ordinance, regulation, or decision officially adopted and

promulgated by that body’s officers” or is informally adopted by custom. (Doc. No. 83 at 57

(quoting Monell, 436 U.S. at 690).) Importantly, a municipality cannot be held liable under a

theory of respondeat superior. (Id. at 58 (quoting Monell, 436 U.S. at 691).)

       Here, Plaintiffs again have failed to identify a policy or custom on the part of the City

Commissioners’ Office or the City of Philadelphia that caused the alleged constitutional

violations. The Third Amended Complaint, like the Second Amended Complaint, fails to meet

the standard of Monell. For this reason and for the reasons stated in the Court’s previous

Opinion, the claims against the City Commissioners’ Office will be dismissed.




                                                17
        Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 18 of 22



        E.      Claims Against Leslie Acosta and the Committee of Seventy
                Will Be Dismissed Because Plaintiffs Have Not
                Plausibly Alleged Claims Against Them

        Because Plaintiffs have failed to state a plausible claim against Leslie Acosta and the

Committee of Seventy, the claims against them will be dismissed as well. Although Leslie

Acosta and the Committee of Seventy have not filed a Motion to Dismiss, the Court again will

sua sponte dismiss the claims against them pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii) for failure

to state a claim. As noted in the Court’s prior Opinion, a Court may dismiss a complaint filed in

forma pauperis “at any time if the court determines that . . . the action . . . fails to state a claim on

which relief may be granted.” § 1915(e)(2)(B)(ii).

                1.      Leslie Acosta Will Be Dismissed as a Defendant

        In their Second Amended Complaint, Plaintiffs merely alleged that Leslie Acosta was not

seated in the General Assembly due to a prior felony conviction. (Doc. No. 11 ¶ 9.) This time,

Plaintiffs allege that Leslie Acosta “played a significant role in the corruption of the special

election,” set up a meeting with the committee people and Ward Leaders, and endorsed Freddy

Ramirez as a candidate. (Doc. No. 91 at 2, 4.) Plaintiffs note that Ramirez did not run in the

special election because it was revealed that he did not live in the 197th District. (Id. at 2.)

        The facts alleged in the Third Amended Complaint regarding Leslie Acosta fail to state a

claim for relief. First, the allegation that Leslie Acosta played a significant role in the corruption

of the special election is a conclusory one that does not state a claim for relief. See Iqbal, 556

U.S. at 678. Second, the fact that Leslie Acosta set up a meeting with committee people and

Ward leaders to endorse Ramirez as a candidate does not support a claim that she caused the

election to be held in violation of Plaintiffs’ constitutional rights. Freddy Ramirez ultimately did

not run in the special election because he was not a resident of the 197th District. Instead,

Emilio Vazquez ran as a write-in candidate. The fact that Leslie Acosta originally endorsed

                                                   18
        Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 19 of 22



Ramirez does not “allow the court to draw the reasonable inference that [Leslie Acosta] is liable

for the misconduct alleged.” Ethypharm S.A. France v. Abbott Labs., 707 F.3d 239, 262 n.14 (3d

Cir. 2013). Based on the few facts alleged in the Third Amended Complaint regarding Leslie

Acosta, Plaintiffs again have failed to state a claim, and the claims against her will be dismissed.

               2.      The Committee of Seventy Will Be Dismissed as a Defendant

        As an initial matter, as the Court noted in its prior Opinion, to date Plaintiffs have failed

to serve process on the Committee of Seventy in accordance with Federal Rule of Civil

Procedure 4(m). (Doc. No. 83 at 24 n.25, 75.) Regardless, any claims against the Committee of

Seventy will be dismissed on the merits because Plaintiffs have failed to plausibly allege a claim

against it.

        As noted, Plaintiffs merely allege that the Committee of Seventy is a nonprofit entity

whose purpose is to oversee elections and ensure that everything is run properly. (Doc. No. 91 at

4.) They allege that during the special election, the Committee of Seventy was “nowhere to be

found when it came to overseeing and making sure the integrity of the . . . special election was

ran honestly and fairly for all the people of Philadelphia.” (Id.)

        Here, Plaintiffs’ Third Amended Complaint against the Committee of Seventy, filed in

forma pauperis, fails to state a claim for numerous reasons. First, as a nonprofit, nonpartisan

organization, the Committee of Seventy, like the Democratic Committee, is not a state actor but

is a private organization. (See Doc. No. 83 at 37-42.) Because it is not a state actor, it could

only be held liable under § 1983 if it participated in joint action with the state or exercised

powers traditionally reserved to the state. (Id. at 37; Borrell v. Bloomsburg Univ., 870 F.3d 154,

160 (3d Cir. 2017); Max v. Republican Comm. of Lancaster Cty., 587 F.3d 198, 200 (3d Cir.

2009).) Plaintiffs have not alleged that the Committee of Seventy participated in joint action

with the state or exercised powers traditionally reserved to it, and thus the claims against it fail.
                                                  19
         Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 20 of 22



        Second, even if the Committee of Seventy were a state actor, Plaintiffs have failed to

allege a plausible claim for failure to train or supervise. Like the other Defendants in this case,

the Committee of Seventy cannot be held liable on a theory of respondeat superior. To state a

claim, Plaintiffs were required to plead that the Committee of Seventy’s conduct in failing to

train or supervise amounted to deliberate indifference to the voters. See Connick v. Thompson,

563 U.S. 51, 61 (2011). Plaintiffs have merely pled the conclusory allegation that the Committee

of Seventy failed to oversee the election, which is insufficient to state a claim against it.

Accordingly, the claims against it will be dismissed. 11

        F.      Plaintiff Acosta’s Motions for Default and Default Judgment Will Be Denied

        Finally, Plaintiff Acosta has filed a Motion for Default against all Defendants for failing

to respond to an Affidavit of Truth he filed (Doc. No. 114) and a Motion for Default Judgment

against Defendant Leslie Acosta for failing to respond to the Third Amended Complaint (Doc.

No. 123). Both Motions will be denied.

        Entering default judgment requires a two-step process. See Fed. R. Civ. P. 55(a), (b).

First, “[w]hen a party against whom a judgment for affirmative relief is sought has failed to plead


11
     The Court will not grant Plaintiffs leave to amend their Complaint again because doing so
     would be futile. A court must grant leave to amend absent “undue delay, bad faith or dilatory
     motive on the part of the movant; repeated failure to cure deficiencies by amendments
     previously allowed; prejudice to the opposing party; and futility.” Mullin v. Balicki, 875 F.3d
     140, 149 (3d Cir. 2017) (citing Foman v. Davis, 371 U.S. 178, 182 (1962)). And in civil
     rights cases, the court “must offer amendment—irrespective of whether it is requested—
     when dismissing a case for failure to state a claim unless doing so would be inequitable or
     futile.” Fletcher-Harlee Corp. v. Pote Concrete Contractors, Inc., 482 F.3d 247, 251 (3d Cir.
     2007) (citation omitted); see also Mullin, 875 F.3d at 151; Grayson v. Mayview State Hosp.,
     293 F.3d 103, 108 (3d Cir. 2002).

     Here, Plaintiffs have amended their Complaint a total of three times, filing the Third
     Amended Complaint after the Court issued a detailed Opinion explaining the deficiencies in
     the Second Amended Complaint. Plaintiffs have repeatedly failed to cure the deficiencies by
     amendments this Court has previously allowed. For this reason, leave to amend will not be
     granted, and the Third Amended Complaint will be dismissed with prejudice.
                                                 20
        Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 21 of 22



or otherwise defend, and that failure is shown by affidavit or otherwise, the clerk must enter the

party’s default.” Fed. R. Civ. P. 55(a). Second, Federal Rule of Civil Procedure 55(b)(2)

“provides for entry of a default judgment in favor of a plaintiff where a defendant has failed to

plead or otherwise defend.” Catanzaro v. Fischer, 570 F. App’x 162, 165 (3d Cir. 2014) (per

curiam) (citing Fed. R. Civ. P. 55(b)(2)).

       Three factors control whether a default judgment should be granted: (1) prejudice
       to the plaintiff if default is denied, (2) whether the defendant appears to have a
       litigable defense, and (3) whether defendant’s delay is due to culpable conduct.

Chamberlain v. Giampapa, 210 F.3d 154, 164 (3d Cir. 2000) (citing United States v. $55,518.05

in U.S. Currency, 728 F.2d 192, 195 (3d Cir. 1984)). “The matter of whether to enter default

judgment ‘is left primarily to the discretion of the district court.’” Juan v. Sanchez, 339 F. App’x

182, 187 (3d Cir. 2009) (quoting Hritz v. Woma Corp., 732 F.2d 1178, 1180 (3d Cir. 1984)).

       In the Motion for Default against all Defendants, Plaintiff Acosta states that Defendants

did not respond to his April 17, 2018 Affidavit of Truth. (Doc. No. 114 at 1.) The Court will not

grant Default on this basis. Defendants have not “failed to plead or otherwise defend.” See Fed.

R. Civ. P. 55(a). Rather, Defendants filed Motions to Dismiss the Third Amended Complaint.

They were under no obligation to respond to Plaintiff Acosta’s Affidavit of Truth after they had

filed Motions to Dismiss. Accordingly, the Motion for Default (Doc. No. 114) will be denied.

       In the Motion for Default Judgment against Leslie Acosta, Plaintiff Acosta requests

default judgment against her because she has not filed a response in this case. (Doc. No. 123 at

1.) The Court will exercise its discretion not to grant a default judgment against Leslie Acosta

because, on balance, the three factors weigh against entry of default judgment. Leslie Acosta has

a litigable defense to the claims against her since the Third Amended Complaint does not contain

sufficient allegations against her, and she would have prevailed on a Motion to Dismiss. In



                                                21
       Case 2:17-cv-01462-JHS Document 125 Filed 08/30/18 Page 22 of 22



addition, there is no indication that her delay in responding is due to culpable conduct. For these

reasons, Plaintiff Acosta’s Motion for Default Judgment (Doc. No. 123) will be denied.

V.     CONCLUSION

       For all the reasons stated above, Defendants’ Motions to Dismiss (Doc. Nos. 105-110)

will be granted, and Plaintiff Acosta’s Motions for Default and Default Judgment (Doc. Nos. 114,

123) will be denied. An appropriate Order follows.




                                                22
